
676 S.E.2d 53 (2009)
STATE
v.
PHILIP MORRIS, et al.
No. 2P05-3.
Supreme Court of North Carolina.
March 19, 2009.
Michael T. Medford, Judson A. Welborn, Raleigh, Alexander Shaknes, New York, NY, James D. Mathias, Brett Ingerman, Baltimore, MD, Thomas J. Frederick, for Philip Morris.
Burley B. Mitchell, Jr., Raleigh, W. David Edwards, Winston-Salem, Stephen Ray Patton, for R.J. Reynolds.
Jim W. Philips, Jr., Greensboro, Charles E. Coble, Raleigh, Penny Reid, Idit Froim, New York, NY, for Lorillard.
Mark A. Ash, Clifton L. Brinson, Raleigh, Elizabeth McCallum, Robert Brookhiser, Washington, DC, for SPMs.
Keith H. Johnson, Raleigh, for SPM VIBO.
*54 The following order has been entered on the motion filed on the 7th day of November 2008 by State of NC for Temporary Stay:
"Motion for Stay Dissolved by order of the Court in conference this the 19th day of March 2009."
